                      IN THE DISTRICT COURT OF THE UNITED STATES
                     FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                  CHARLOTTE DIVISION
                                       3:05CR281

                                                 )
UNITED STATES OF AMERICA                         )
                                                 )
               vs.                               )
                                                 )                  ORDER
Augustine Antonio Rivera Rivera       (1)        )
Jose Daniel Rivera Rivera             (2)        )
Elton Rodriguez                       (3)        )
Ignacio Manuel Rodriguez              (4)        )
                                                 )


       THIS MATTER is before the court on its own motion to continue the trial of this matter
from the March 6, 2006 term of court.

       The court finds the ends of justice served by taking such action outweighs the interest of
the public and Defendant to a speedy trial as set forth in 18 U.S.C. 3161(h)(8)(1).

       IT IS THEREFORE ORDERED that this trial be scheduled for the March 13, 2006
term at 10:00 a.m. in the Charlotte Division.

        The Clerk is directed to certify copies of this order to Defendant, counsel for Defendant,
to the United States Attorney, the United States Marshals Service, and the U.S. Probation Office.

       IT IS SO ORDERED.

                                                     Signed: February 6, 2006




    Case 3:05-cr-00281-GCM-DCK              Document 50       Filed 02/06/06     Page 1 of 1
